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                     Exhibit B
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From: Baker, Arthur [mailto:Arthur.Baker@mail.house.gov]
Sent: Monday, September 10, 2018 12:58 PM
To: Kelley, David <David.Kelley@dechert.com>
Subject: Request to interview James Comey- House Judiciary Committee

Mr. Kelley,

I am counsel to the Committee on the Judiciary (Majority staff) of the United States House of
Representatives. As you may know, the Committee on the Judiciary and the Committee on Oversight
and Government Reform are conducting oversight of the Department of Justice (DOJ) and the Federal
Bureau of Investigation (FBI) and their investigation, subsequent recommendation of no prosecution,
and related matters concerning former Secretary of State Hillary Clinton’s handling of classified
materials, her use of private email servers, and other matters concerning the 2016 election. It is our
understanding that you represent Mr. James Comey, formerly the Director of the Federal Bureau of
Investigation. We would like to interview Mr. Comey concerning the matters we are investigating. In
that regard, could you please advise me when you could present Mr. Comey for an interview at the
House Judiciary Committee in Washington DC? I can discuss this matter further at your convenience.
Thank you.

Arthur Baker
Investigative Counsel
Arthur.Baker@mail.house.gov
202-225-5727
Case 1:18-mc-00174-TNM Document 1-5 Filed 11/29/18 Page 1 of 2




                    Exhibit C
Case 1:18-mc-00174-TNM Document 1-5 Filed 11/29/18 Page 2 of 2
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                    Exhibit D
         Case 1:18-mc-00174-TNM Document 1-6 Filed 11/29/18 Page 2 of 3



From: Baker, Arthur [mailto:Arthur.Baker@mail.house.gov]
Sent: Monday, October 1, 2018 12:54 PM
To: Kelley, David <David.Kelley@dechert.com>
Subject: RE: James Comey

Thanks. Let me review and I will be in touch.

From: Kelley, David [mailto:David.Kelley@dechert.com]
Sent: Monday, October 01, 2018 12:20 PM
To: Baker, Arthur
Cc: Grooms, Susanne Sachsman; Hiller, Aaron
Subject: RE: James Comey

Please see the attached correspondence. Happy to discuss at your convenience.

David N. Kelley
Partner

Dechert LLP
1095 Avenue of the Americas
New York, NY 10036-6797
+1 212 698 3580
+1 212 698 3599 Fax
david.kelley@dechert.com
www.dechert.com

From: Baker, Arthur [mailto:Arthur.Baker@mail.house.gov]
Sent: Friday, September 21, 2018 6:05 PM
To: Kelley, David <David.Kelley@dechert.com>
Subject: James Comey

Mr. Kelley,
Following up on our previous telephone call and email requesting to interview Mr. Comey.
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                     Exhibit E
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                                                                                                                        Print     Close




GOP rep touches off firestorm with claim FBI leaked info,
used stories to get FISA warrants
By Brooke Singman, ,

Published August 28, 2018

Fox News
A Republican congressman touched off a firestorm Tuesday after claiming on Twitter that his office had information suggesting the
FBI leaked information to the press and used the resulting articles to help obtain surveillance warrants.

"We've learned NEW information suggesting our suspicions are true: FBI/DOJ have previously leaked info to the press, and then
used those same press stories as a separate source to justify FISA's," House Freedom Caucus Chairman Mark Meadows, R-N.C.,
tweeted overnight.


The claim stemmed in part from FBI intelligence analyst Jonathan Moffa’s Friday testimony behind closed doors before the House
Judiciary and Oversight committees.

But what exactly Moffa told the committees is a matter of dispute.

A source with knowledge of the testimony initially told Fox News that Moffa said FBI personnel would use media reports based on
information they leaked to justify applications for Foreign Intelligence Surveillance Act warrants, echoing Meadows. The source said
Moffa, who worked with controversial former FBI officials Peter Strzok and Lisa Page, acknowledged this “had been a practice in
the past.”

But an FBI official pushed back, telling Fox News the initial claims about Moffa’s testimony were incorrect.

The source later clarified that Moffa testified the FBI routinely uses media material to corroborate their work product, including FISA
materials, but “never said directly 'we utilize FBI leaks for FISAs.'” The source maintained, however, that the FBI has a “culture of
leaking for their own gain” and uses media reports to support their work: “There's quite a bit of evidence raising concerns that the
FBI engages in this without Moffa saying it."

Republicans have long questioned to what extent leaked information, related to the unverified anti-Trump dossier, was used as a
basis for surveillance warrants against former Trump adviser Carter Page in 2016 -- when the bureau was led by James Comey and
deputy Andrew McCabe.

The source told Fox News that Moffa did not specifically confirm whether leaking was employed with regard to the dossier.

Another source familiar with Moffa’s testimony offered a more nuanced version of events. The source told Fox News that Moffa said
the FBI keeps track of open source reports related to their cases -- and when asked whether a FISA application would reference a
news account, he said it could be possible, hypothetically, but the FBI aims to find better information.

The source stressed that this was not related to any specific situation and that Moffa did not suggest this was a common practice at
the FBI.

Meadows, though, largely stood by his claims – yet also offered a clarification in a Tuesday afternoon statement to Fox News,
drawing a distinction between what Moffa testified and what his office has learned from other materials.

“Jonathan Moffa made it clear to the committee the FBI routinely uses media reports to corroborate analytic work product. We have
emails and texts plainly showing the FBI leaks to the media, raising major red flags. If FBI executives want the American people to
believe they haven’t used leaks to their advantage, they are not being honest,” Meadows said in the statement, while saying this
includes FISA materials.

Meadows also told Fox News’ “America’s Newsroom” earlier Tuesday that the committee had evidence of the FBI’s practice that
would be “hard to refute.”

“We know that some people at the Department of Justice and the FBI actually gave information to the media, then the stories were
reported. Then they used those reports to justify further investigations,” Meadows said. “You know, that’s like saying, we’re going to
incriminate on one hand, and be the jury on the other. It just doesn’t work that way.”
                               Case 1:18-mc-00174-TNM Document 1-7 Filed 11/29/18 Page 3 of 3
The Daily Caller first reported on the specifics of Moffa's claims.

The Trump dossier, which contained salacious allegations about the then-presidential candidate, was compiled by ex-British spy
Christopher Steele. Steele, who was also working as an FBI source, had been hired by research firm Fusion GPS to compile details
for the dossier, which was funded by the Clinton campaign and Democratic National Committee.

One source familiar with Moffa's testimony told Fox News that his statements raise concerns that the bureau indeed used this
practice with the dossier, referencing an article written by Yahoo! News’ Michael Isikoff.

The Isikoff article was published on Sept. 23, 2016, focusing on Page’s July 2016 trip to Moscow. According to a House GOP
memo earlier this year, the Isikoff article did “not corroborate the Steele dossier” as the article was “derived from information leaked
by Steele himself to Yahoo News.” Yet the subsequent FISA application to spy on Page cited the Isikoff article, among other pieces
of evidence.

“The [Carter] Page FISA application incorrectly assesses that Steele did not properly provide information to Yahoo News,” the
memo read. “Steele has admitted in British court filings that he met with Yahoo News—and several other outlets—in September
2016 at the direction of Fusion GPS.”

Moffa served on the FBI’s “Mid-Year Exam,” the code name for the bureau’s investigation into Hillary Clinton’s handling of classified
information and use of a private email server while secretary of state.

Moffa’s name often appeared in text message conversations between former FBI officials Strzok and Page, who came under
scrutiny for their anti-Trump and politically charged exchanges. One text message exchange between the two on July 24, 2016
discussed their need to read “Moffa’s thing,” referencing an FBI “302”—which is an interview or witness deposition in an FBI
investigation.

DOCUMENTS SUGGEST POSSIBLE COORDINATION BETWEEN CIA, FBI, OBAMA WH AND DEM OFFICIALS EARLY IN
TRUMP-RUSSIA PROBE: INVESTIGATORS

Another reference was on Aug. 8, 2016.

“Hey no update yet, waiting on Moffa, he’s in with Dina at mtg scheduled to end at 11,” Strzok texted Page. An hour later, he added:
“Hey, talked to him, will let him fill you in. Internal joint cyber cd Intel piece for D, scenesetter for McDonough brief, Trainor [head of
FBI cyber division] directed all cyber info be pulled. I’d let Bill and Jim hammer it out first, though it would be best for D to have it
before the Wed WH session.”

In the texts, “D” referred to former FBI Director James Comey, and “McDonough” referred to former chief of staff for former
President Barack Obama, Denis McDonough, according to GOP investigators.

Page left the bureau in May, and Strzok was fired earlier this month.

On Tuesday, House lawmakers have the chance to question Justice Department senior official Bruce Ohr on the same FBI practice,
as Ohr testifies behind closed doors.

Ohr had frequent contact with Steele before and after the publication of the dossier, and the FBI’s ultimate decision to cut ties with
the ex-British spy. Ohr’s wife, Nellie Ohr, worked for Fusion GPS at the time of the creation of the dossier.

Brooke Singman is a Politics Reporter for Fox News. Follow her on Twitter at @brookefoxnews.
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                     Exhibit F
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                            Former FBI lawyer speaks with
                            House lawmakers on Rosenstein,
                            2016
                            BY OLIVIA BEAVERS - 10/18/18 04:09 PM EDT




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Bipartisan group of
lawmakers propose
landmark carbon tax
ENERGY & ENVIRONMENT
— 3M 4S AGO



Pence, Kushner huddle
with Senate GOP on
criminal justice reform
FLOOR ACTION — 5M 25S AGO



Obama meets George
H.W. Bush during visit to
Houston
BLOG BRIEFING ROOM
— 5M 28S AGO



Bipartisan budget             © Getty Images
reform eﬀort hits
roadblock in inal days
                              James Baker testi ied behind closed-doors on Thursday before two GOP-
FINANCE — 24M 1S AGO
                              led House panel about his role as the FBI general counsel during the 2016
                              presidential election.
Facebook gets global
grilling over privacy         The meeting marks Baker’s second recent interview before the House
TECHNOLOGY — 24M 58S AGO
                              Judiciary and Oversight and Government Reform committees, panels
                              which are leading a joint investigation into FBI and Department of Justice
Number of                     (DOJ) decision-making during the 2016 election.
unauthorized
immigrants in US fell in      GOP lawmakers say Baker, who appeared before the panels earlier this
2016 to lowest level in a
                              month, told congressional investigators that he believes Deputy Attorney
decade: Pew
                              General Rod Rosenstein was serious when he told other o icials he was
BLOG BRIEFING ROOM
— 29M 35S AGO                 considering wearing a wiretap during an Oval O ice meeting with
                              President Trump last year following Trump’s iring of then-FBI director
                              James Comey.
Trudeau speaks with
Trump about GM layoﬀs         The New York Times, which published the bombshell report disclosing the
FINANCE — 30M 13S AGO         wiretap discussion, also said Rosenstein raised the possibility of the 25th
                              Amendment, talking about possibly removing Trump from o ice with the
                              help of other Cabinet o icials.
Judge Judy highest paid
TV host, earned $147
million last year             Rosenstein and the DOJ have iercely disputed the story, stating that some
MEDIA — 56M 30S AGO
                              comments were made in jest. Baker, however, told congressional
                              investigators and a select group of GOP lawmakers that he believed
VIEW ALL                      Rosenstein meant them.

                              “It is deeply troubling that you got the former general counsel of the FBI
                              saying in their reactions to Rod Rosenstein that there was going to be a
                              wire worn by him with the president of the United States and that there
                       Case 1:18-mc-00174-TNM Document 1-8 Filed 11/29/18 Page 3 of 4
                                 was discussions he was having with cabinet members about invoking the
                                 25th Amendment,” Rep. Matt Gaetz (R-Fla.) also told reporters.

                                 Despite rumors that Rosenstein’s job security was threatened, Trump
Related News            by
                                 recently told reporters that he has no plans to ire the top DOJ o icial
                                 following a private meeting between the two on Air Force One.

                                 Although it is unclear what new information lawmakers gleaned from this
                                 second meeting with Baker, conservative House members appeared to
                                 ramp up their attacks against Rosenstein.
Cyber Monday On NOW
                                 Rep. Mark Meadows (R-N.C.), one of the president’s strongest allies and a
—Save 25% In Store &…
Sponsored | UNTUCKit              ierce critic of the FBI and DOJ, called on Rosenstein to immediately
                                 resign after the interview concluded.

                                 "I think that it’s time that Rod Rosenstein steps down,” Meadows told
                                 reporters, citing reasons like “misplaced” priorities, lack of candor, and
                                 “unwillingness” to submit to congressional oversight.

San Diego Border Patrol          “He should do so immediately and in doing that, I think it would serve the
chief: Many breached…
                                 country well, it would serve this president well," he added.

                                 House Freedom Caucus members previously said Rosenstein should
                                 either testify before Congress or resign from his post.

                                 Baker, whom GOP lawmakers described as being cooperative, did not
Chuck Todd rips 'absurd'         respond to reporters’ questions about his testimony. Baker retired earlier
White House rules: No…           this year from the bureau and now works for the Brookings Institution, a
                                 D.C.-based think tank.

                                 Gaetz, however, complained that the FBI general counsel present for the
                                 interview would not allow Baker to answer a series of questions about
                                 topics like surveillance of Trump campaign aides because it is tied to
                                 ongoing investigations. Lawmakers, however, said Rosenstein was one
South Carolina lawmaker
                                 topic they discussed.
plans to add black…
 
                                 The joint investigation, derided by Democrats as an eﬀort to discredit or
                                 distract from special counsel Robert Mueller’s probe, has been hotly
                                 sought by conservative members, who say there is ample evidence of bias
                                 against Trump among the top brass at the FBI and DOJ.




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                                 Baker is one of a handful of former FBI and DOJ o icials who have met
                                 with the committee in recent weeks.

                                 Nellie Ohr, Bruce Ohr’s wife who worked as a contractor for Fusion GPS
                                 during the presidential election, is slated to testify before the committee
                                 on Friday.

                                 TAGS ROD ROSENSTEIN ROBERT MUELLER MARK MEADOWS DONALD TRUMP JAMES COMEY
                                 MATT GAETZ



                                                       SHARE               TWEET
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                    Exhibit G
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    Top FBI oﬃcial grilled on Comey, Clinton in
Hill testimony
By Manu Raju and Jeremy Herb, CNN
Updated 6:01 AM ET, Fri December 22, 2017




FBI Deputy Director comes to Comey's defense 01:13

Washington (CNN) — FBI Deputy Director Andrew McCabe faced numerous questions this week about his
interactions, conversations and correspondence with his onetime boss, former FBI Director James Comey,
spanning both the FBI's Russia investigation and its probe into Hillary Clinton's private email server, according to
multiple sources from both parties with knowledge of his testimony.

In private testimony before the House Intelligence Committee this week, McCabe told lawmakers that Comey
informed him of conversations he had with President Donald Trump soon after they happened, according to three
sources with knowledge of the matter.
                 Case 1:18-mc-00174-TNM Document 1-9 Filed 11/29/18 Page 3 of 4
                                                      The testimony suggests McCabe could corroborate Comey's
                                                      account, including Trump's ask that Comey show him loyalty,
                                                      which the President has strongly disputed. Comey previously
                                                      testiﬁed that he briefed some of his senior colleagues at the
                                                      FBI about this conversation with Trump.

                                                      RELATED: Tracking the Russia investigations

                                                      McCabe appeared for more than 16 hours of testimony
                                                      behind closed doors in two sessions this week before
                                                      members of the House Intelligence, Oversight and Judiciary
 Related Article: Congressional Russia                committees, amid growing calls for his ﬁring from Republicans
 investigators grill FBI deputy director              critical of the FBI's handling of both investigations. 

                                                   Intelligence Committee Republicans also grilled McCabe
                                                   about how the FBI used the dossier compiled by a British
                                                   agent alleging collusion between Trump and Russia. Some
Republicans were dissatisﬁed with the responses, according to the sources.

                                                      Thursday, before the House Judiciary and Oversight
                                                      committees, McCabe faced intense questioning from
 Related Article: How Mueller's path was              Republicans about the FBI's handling of the Clinton email
 muddied in two weeks                                 investigation, which many in the GOP believe was unfair. The
                                                      panel's Republicans forced McCabe to answer questions
                                                      about internal emails they believe showed Comey mishandled
                                                      the investigation, according to multiple sources.

The mood, according to Illinois Democratic Rep. Raja Krishnamoorthi, was "tense."

"All this time on Clinton emails and dragging the FBI in to talk about Clinton instead of the real crime: Russian
interference in our democracy," said Krishnamoorthi, who sits on the House Oversight Committee.

The FBI declined to comment.

But two Republicans emerged from the Thursday hearing saying McCabe's testimony did not change their belief
that Clinton got favorable treatment by the FBI when it decided not to pursue criminal charges last year over the
handling of her private email server. They declined to provide details about what McCabe said, citing the
conﬁdential nature of the interview.

In the heat of the presidential campaign last summer, Comey publicly announced that Clinton would not be
charged in the email server investigation. Comey said "no reasonable prosecutor would bring such a case,"
primarily because investigators didn't determine that Clinton intentionally schemed to break federal law.

Drawing the ire of Republicans, Comey also said the investigation found "evidence of potential violations" of the
statutes that dictate how classiﬁed information should be handled. 

Rep. Jim Jordan, a Republican who was been a sharp critic of the FBI's handling of the Clinton email investigation,
told CNN: "Everything that I've heard reinforces what I believed before" McCabe came in for the Thursday interview.

On Thursday, House Judiciary Committee Chairman Bob Goodlatte defended the two panels' focus on the Clinton
email investigation, saying it is consistent with their focus on FBI decisions made in the 2016 elections. McCabe
was the ﬁrst witness.

"This investigation was announced two months ago, and this is the ﬁrst interview and we are gathering
documents," Goodlatte, R-Virginia, told CNN.

Told that Democrats called the probe an e ort to distract from the Russia investigation, Goodlatte said: "That's
deﬁnitely not right."
                Case 1:18-mc-00174-TNM Document 1-9 Filed 11/29/18 Page 4 of 4

Criticism of FBI from Republicans
McCabe has come under ﬁre in recent days from Republicans amid the release of anti-Trump text messages sent
between FBI agent Peter Strzok, who was removed from Justice Department special counsel Robert Mueller's
team when the messages were discovered, and FBI lawyer Lisa Page. The text messages also criticized liberals,
including Sen. Bernie Sanders and Chelsea Clinton. 

Several Republicans, including Senate Judiciary Chairman Chuck Grassley, have called for his removal.

The criticism of McCabe comes as a growing number of Republicans are questioning the credibility of Mueller's
investigation into possible collusion between Trump's team and Russian o cials.

Republicans have pointed to the anti-Trump texts as well as connections between the FBI and Fusion GPS, the ﬁrm
that paid for the opposition research dossier on Trump and Russia.

But Democrats argue that the Republican criticisms of McCabe and the FBI are an e ort to undermine Mueller as
his investigation ramps up, and to give Trump cover should he try to remove Mueller, a step the White House insists
is not on the table.

"This hearing is part of an ongoing Republican attempt to divert attention," said Rep. Jerrold Nadler of New York,
the top Democrat on the House Judiciary Committee. "I mean, this hearing occurred with very little prior notice,
with weeks before the relevant documents are obtained, but although we're expecting the relevant documents.
And suddenly we're told we have an emergency hearing."



First in a series with FBI witnesses
Thursday's hearing is the ﬁrst connected to the joint investigation into Comey's handling of the Clinton email case
that was launched earlier this year by the Oversight and Judiciary committees.

Both sides say they expect this is the ﬁrst in a series of hearings involving FBI witnesses, and the two committee
have asked for at least two other senior FBI o cials to appear.

Thursday's hearing behind closed doors was considered "conﬁdential," but not classiﬁed, according to Rep. Elijah
Cummings, the top Democrat on the House Oversight panel.

As part of the agreement, McCabe did not discuss topics that touched on Mueller investigation, Cummings said. 

But the House Intelligence Committee's hearing, which lasted roughly eight hours Tuesday, did touch on topics
Mueller's inquiry appears to be covering, sources said. 

In particular, the panel pressed McCabe to discuss his interactions with Comey, who contended that on multiple
occasions Trump reached out to him, including over dinner. 

Earlier this year, Comey testiﬁed that he briefed senior FBI o cials about at least two conversations with Trump:
The January dinner where Trump asked for loyalty, and the February meeting where Trump asked Comey to go
easy on former national security adviser Michael Flynn, who was under FBI investigation. In his bombshell
testimony before the Senate Intelligence Committee in June, Comey did not identify McCabe by name, only saying
that he briefed "the FBI leadership team" about his interactions with Trump.  

McCabe testiﬁed this week that Comey did in fact tell him about these conversations.  
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                     Exhibit H
                    Case 1:18-mc-00174-TNM Document 1-10 Filed 11/29/18 Page 2 of 5
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  Politics


  Justice Department lawyer Bruce Ohr, frequently
  targeted by President Trump, was told Russia had
  ‘Trump over a barrel’
  Published Fri, Aug 31 2018 • 11:34 AM EDT | Updated Fri, Aug 31 2018 • 1:05 PM EDT




  Key Points

           Senior Justice Department lawyer Bruce Ohr says that he was told two years ago that Russian intelligence
           believed it had Donald Trump “over a barrel,” according to multiple people familiar with the encounter.
          Case 1:18-mc-00174-TNM Document 1-10 Filed 11/29/18 Page 3 of 5
Ohr also says he learned that a Trump campaign aide had met with higher-level Russian officials than the
aide had acknowledged, the people said.
The previously unreported details of Ohr’s breakfast with former British spy Christopher Steele reveal an
exchange of potentially explosive information about Trump between two men the president has
relentlessly sought to discredit.
                Case 1:18-mc-00174-TNM Document 1-10 Filed 11/29/18 Page 4 of 5




Former associate deputy U.S. attorney general Bruce Ohr arrives to testify behind closed doors before the House
Judiciary and House Oversight and Government Reform Committees, August 28, 2018.
Chris Wattie | Reuters

A senior Justice Department lawyer says a former British spy told him at a breakfast meeting two years ago that
Russian intelligence believed it had Donald Trump “over a barrel,” according to multiple people familiar with
the encounter.

The lawyer, Bruce Ohr, also says he learned that a Trump campaign aide had met with higher-level Russian
officials than the aide had acknowledged, the people said.

The previously unreported details of the July 30, 2016, breakfast with Christopher Steele, which Ohr described
to lawmakers this week in a private interview, reveal an exchange of potentially explosive information about
Trump between two men the president has relentlessly sought to discredit.

They add to the public understanding of those pivotal summer months as the FBI and intelligence community
scrambled to untangle possible connections between the Trump campaign and Russia. And they reflect the
concern of Steele, a longtime FBI informant whose Democratic-funded research into Trump ties to Russia was
compiled into a dossier, that the Republican presidential candidate was possibly compromised and his urgent
efforts to convey that anxiety to contacts at the FBI and Justice Department.

The people who discussed Ohr’s interview were not authorized to publicly discuss details of the closed session
and spoke to The Associated Press on condition of anonymity.

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VIDEO01:06
Republican senators issue a criminal referral for the author of the controversial Trump dossier

Among the things Ohr said he learned from Steele during the breakfast was that an unnamed former Russian
intelligence official had said that Russian intelligence believed “they had Trump over a barrel,” according to
people familiar with the meeting. It was not clear from Ohr’s interview whether Steele had been directly told
that or had picked that up through his contacts, but the broader sentiment is echoed in Steele’s research dossier.

Steele and Ohr, at the time of the election a senior official in the deputy attorney general’s office, had first met a
decade earlier and bonded over a shared interest in international organized crime. They met several times during
the presidential campaign, a relationship that exposed both men and federal law enforcement more generally to
partisan criticism, including from Trump.

Republicans contend the FBI relied excessively on the dossier during its investigation and to obtain a secret
wiretap application on Trump campaign aide Carter Page. They also say Ohr went outside his job description
and chain of command by meeting with Steele, including after his termination as a FBI source, and then relaying
information to the FBI.

Trump this month proposed stripping Ohr, who until this year had been largely anonymous during his decades-
long Justice Department career, of his security clearance and has asked “how the hell” he remains employed.

Trump has called the Russia investigation a “witch hunt” and has denied any collusion between his campaign
and Moscow.

Trump and some of his supporters in Congress have also accused the FBI of launching the entire Russia
counterintelligence investigation based on the dossier. But memos authored by Republicans and Democrats and
                 Case 1:18-mc-00174-TNM Document 1-10 Filed 11/29/18 Page 5 of 5
declassified this year show the probe was triggered by information the U.S. government received earlier about
the Russian contacts of then-Trump campaign foreign policy adviser, George Papadopoulos.

The FBI’s investigation was already under way by the time it received Steele’s dossier, and Ohr was not the
original source of information from it.

One of the meetings described to House lawmakers Tuesday was a Washington breakfast attended by Steele, an
associate of his and Ohr. Ohr’s wife, Nellie, who worked for the political research firm, Fusion GPS, that hired
Steele, attended at least part of the breakfast.

Ohr also told Congress that Steele told him that Page, a Trump campaign aide who traveled to Moscow that
same month and whose ties to Russia attracted FBI scrutiny, had met with more senior Russian officials than he
had acknowledged meeting with.

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Here’s everything Trump and Putin said when asked point blank about Russian meddling

That breakfast took place amid ongoing FBI concerns about Russian election interference and possible
communication with Trump associates. By that point, Russian hackers had penetrated Democratic email
accounts, including that of the Clinton campaign chairman, and Papadopoulos, the Trump campaign associate,
was said to have revealed that Russians had “dirt” on Democrat Hillary Clinton in the form of emails, according
to court papers. That revelation prompted the FBI to open the counterintelligence investigation on July 31, 2016,
one day after the breakfast but based on entirely different information.

Ohr told lawmakers he could not vouch for the accuracy of Steele’s information but has said he considered him a
reliable FBI informant who delivered credible and actionable intelligence, including his investigation into
corruption at FIFA, soccer’s global governing body.

In the interview, Ohr acknowledged that he had not told superiors in his office, including Deputy Attorney
General Sally Yates, about his meetings with Steele because he considered the information inflammatory raw
source material.

He also provided new details about the department’s move to reassign him once his Steele ties were brought to
light.

Ohr said he met in late December 2017 with two senior Justice Department officials, Scott Schools and James
Crowell, who told him they were unhappy he had not proactively disclosed his meetings with Steele. They said
he was being stripped of his associate deputy attorney post as part of a planned internal reorganization, people
familiar with Ohr’s account say.

He met again soon after with one of the officials, who told him Attorney General Jeff Sessions and Deputy
Attorney General Rod Rosenstein did not believe he could continue in his current position as director of a drug
grant-distribution program — known as the Organized Crime and Drug Enforcement Task Force.

Sessions and Rosenstein, Ohr was told, did not want him in the post because it entailed White House meetings
and interactions, the people said.

Justice Department spokeswoman Sarah Isgur Flores declined to comment.

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                      Exhibit I
Case 1:18-mc-00174-TNM Document 1-11 Filed 11/29/18 Page 2 of 6


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          Case 1:18-mc-00174-TNM Document 1-11 Filed 11/29/18 Page 3 of 6




Justice Department official Bruce Ohr (right) has become the Trump allies’ latest focus in their efforts to raise

questions about the investigators who ran the probe into the Trump campaign’s contacts with Russia. | Pablo

Martinez Monisvais/AP Photo




GOP lawmakers grill DOJ official Ohr over Trump dossier

By KYLE CHENEY | 08/28/2018 11:18 AM EDT | Updated 08/28/2018 12:57 PM EDT




Bruce Ohr, the Justice Department official whose longtime relationship with former British
spy Christopher Steele has drawn intense scrutiny from Capitol Hill Republicans, is facing
questions Tuesday about the timing of his contacts with Fusion GPS, the firm that worked
with Steele to create and disseminate his so-called dossier about President Donald Trump’s
relationship with Russia.

Ohr, who appeared for a closed-door interview in a Capitol office building, has become the
Trump allies’ latest focus in their efforts to raise questions about the investigators who ran
the probe into the Trump campaign’s contacts with Russia. As a senior Justice Department
staffer, Ohr passed along Steele’s information to the FBI, even after the bureau terminated
its formal relationship with Steele over media leaks.
        Case 1:18-mc-00174-TNM Document 1-11 Filed 11/29/18 Page 4 of 6


Republicans have raised questions about Ohr’s contacts with Steele and Ohr’s wife Nellie,
who worked for Fusion. Lawmakers and staff in the room said Ohr was accompanied by a
handful of attorneys, including a personal lawyer and counsel for the Justice Department.

At least seven GOP lawmakers — members of the House Judiciary and Oversight
Committees — attended as well: Reps. Mark Meadows, Jim Jordan, Trey Gowdy, John
Ratcliffe, Darrell Issa, Matt Gaetz and Andy Biggs. No Democratic lawmakers were on
hand, but staffers of both parties attended.

Gaetz, emerging from the interview after nearly two hours, said Ohr appeared to be
answering questions forthrightly but that his testimony about the timing of his contacts
with Fusion appeared to conflict with answers given to lawmakers by Fusion GPS
cofounder Glenn Simpson and former FBI attorney Lisa Page.

“Either Bruce Ohr’s lying or Glenn Simpson’s lying,” Gaetz said, describing “a number of
factual conflicts” between their testimony. He added that they could conceivably have
competing recollections but that it will be important to bring both before the Judiciary
Committee in a public hearing to sort out the facts.

              CONGRESS


              Republicans find a new target in fight to discredit Russia probe
              By KYLE CHENEY




Gaetz, Meadows and Issa told reporters that Ohr’s testimony revealed that the FBI had
more significant doubts about the credibility of the Steele dossier than the bureau revealed
when it applied for a court-ordered surveillance warrant on a former Trump campaign
adviser, Carter Page, in October 2016.

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“Not only did the FBI know that the dossier was unverified, but they also knew that there
were real credibility issues where it would never end up in a courtroom,” Meadows said.

Meadows and Gaetz also emphasized that Ohr appeared to handle this matter differently
than any other in his 27-year Justice Department career, describing a “unique set of
circumstances” they said raised questions.

Meadows added that lawmakers also learned who Ohr provided the dossier to inside the
FBI when he first provided a version of it in 2016. But he declined to name the official,
saying that the specifics of the interview are meant to remain confidential.

Issa told reporters after Ohr had testified for nearly four hours that Ohr revealed he had
multiple “handlers” at the FBI who received information he provided on Steele’s dossier,
but Issa declined to name them.

“There’s quite a list of names,” he said.

Issa also said lawmakers had continuing questions about Ohr’s wife receiving “only
$44,000” for her work at Fusion GPS and that Ohr himself didn’t seem familiar with all of
the details of her work.

Meadows and Gaetz also re-emerged to suggest that Ohr’s testimony supports their belief
that the FBI “withheld material facts” from the court when it applied for the surveillance
warrant on Page.

Ohr is expected to be in the closed-door interview most of the day. Attorneys for Simpson
and Page were not immediately available for comment.




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                      Exhibit J
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  Embattled FBI agent meets with Congress behind closed
doors in 11-hour marathon
By Jeremy Herb, Manu Raju and Laura Jarrett, CNN
Updated 9:40 AM ET, Thu June 28, 2018




(CNN) — Embattled FBI agent Peter Strzok told lawmakers Wednesday in a marathon, closed-door interview that the anti-Trump text messages he
exchanged with an FBI lawyer were part of an "intimate" conversation and he did not intend to act on any of the missives, according to Democrats in
the meeting.

But Republicans argued that Strzok's claims about the messages after the fact were simply not credible, and one lawmaker claimed to have learned
new information from his interview Tuesday with the House Oversight and Judiciary Committees.

Strzok's interview -- which stretched more than 11 hours and included unclassiﬁed and classiﬁed sessions -- was just the latest instance where
Republicans and Democrats came away with dueling assessments over the FBI's actions during the 2016 election.

Wednesday's interview was the ﬁrst chance for Congress to grill the FBI agent at the center of the controversy over the FBI's handling of its
investigations into Hillary Clinton and Russia.

Strzok has been lambasted by Republicans — and criticized by some Democrats, too — for his anti-Trump text messages exchanged with former FBI
lawyer Lisa Page. Strzok and Page, who had an extramarital a air, sent thousands of text messages while they worked on the Clinton email
investigation, the Trump-Russia probe and brieﬂy on special counsel Robert Mueller's team. Strzok was removed from Mueller's team after the texts
were discovered; Page had already left.

Four sources from both parties tell CNN that Strzok told the House panels that Mueller didn't press him about the texts when they came to light.

In the closed door interview, Strzok was asked how Mueller reacted to the revelation of his anti-Trump texts. He said Mueller did not press him on the
texts or ask him whether that showed any bias in the probe. But Mueller immediately removed him from the probe, according to the sources.

Republicans are likely to argue that it shows Mueller didn't care that the FBI probe may have been impacted by a biased agent. But Democrats say
Mueller simply acted promptly as soon as he learned of the texts to remove Strzok from his team.

Democrats said that Strzok explained to lawmakers that his messages he exchanged with Page were "intimate" and "private," intended only for her and
not a broader audience.

"He said the context was there were private emails, and these were certainly not any intent to act on anything," said Rep. Jerry Nadler of New York, the
top Democrat on the House Judiciary Committee. "They were private expressions of opinion to a woman he was having an a air with."

Rep. Raja Krishnamoorthi, an Illinois Democrat, described Wednesday's interview as a "feisty, tense exchange" at various points.

"I don't walk away with the impression that politics bias actually controlled the actions of FBI agents," Krishnamoorthi said.

Republicans argued that Strzok shouldn't be taken at face value.

"Of course, he's always said that," Rep. Jim Jordan of Ohio, a leader of the House Freedom Caucus, said of Strzok's explanation.

But Rep. Mark Meadows, the North Carolina Republican who leads the conservative House Freedom Caucus, disputed Strzok's account, rejecting his
explanation that the "we'll stop" Trump text was just an "intimate exchange between intimate friends."

"I would expect any witness to suggest they've looked at this impartially. ... I don't know how any reasonable person reads the texts and concludes
there was not bias," Meadows said. "If you have an intimate personal conversation between two people — that normally would show the intent."

Meadows also said he learned new information, but he would not disclose what that was.
                      Case 1:18-mc-00174-TNM Document 1-12 Filed 11/29/18 Page 3 of 3
He suggested the information was related to the Trump-Russia investigation and Mueller's probe, which were not part of the inspector general report
that was released earlier this month.

"The whole hando between the FBI's investigation and the special counsel's investigation obviously has some concerns if you're relying predominantly
on Peter Strzok," Meadows said.

Strzok was faulted in the recent inspector general report from the Justice Department for his anti-Trump bias, with Inspector General Michael Horowitz
concluding that his texts "cast a cloud" over the entire FBI investigation. The report also found no evidence that the political bias a ected the speciﬁc
investigative decisions that were reviewed in the Clinton case, but found fault with Strzok for prioritizing the Russia investigation over the Clinton email
probe.

But the latest batch of text messages uncovered by the inspector general included one in which Strzok told Page "we'll stop" Trump -- and Trump and
his conservative allies say the texts show that the FBI was biased against Trump, arguing that the Mueller investigation is tainted as a result, too.

"It's one thing to say 'Trump's awful.' It's another thing to say 'We're going to stop him,' especially when those statements are made within 15 days, just
days after you've launched an investigation into that individual," Jordan said in advance of the hearing.

The inspector general also said he could not conclude that political bias prompted Strzok to prioritize the Russia investigation over going through the
emails on Anthony Weiner's laptop. Rep. Sheila Jackson Lee, a Texas Democrat, said Strzok said that "he did not elevate one investigation over the
other."

After an FBI career spanning more than two decades and an ascent to the No. 2 spot within the counterintelligence division at the FBI, Strzok's collapse
in the court of public opinion has been swift.

The man who led top secret Chinese espionage investigations was led out of the FBI building earlier this month as the bureau continues its disciplinary
proceedings into the conduct revealed in Horowitz's report.

Strzok has indicated that he wants to testify and tell his side of the story now that the inspector general report has been released.

Indeed, Strzok told Justice Department investigators that despite his private messages, had he actually wanted to prevent Trump from being elected,
he would not have maintained conﬁdentiality about the investigation into contacts between the Trump campaign and Russians in the months before
the election.

"Pete is central to this story. We should let the American people see who he really is," Strzok attorney Aitan Goelman said last week. "Pete has
steadfastly played by the rules and respected the process, and yet he continues to be the target of unfounded personal attacks, political games and
inappropriate information leaks."

While House Judiciary Chairman Bob Goodlatte initially issued a subpoena for his testimony last week, Strzok appeared voluntarily for an interview
Wednesday.

According to his legal team, he "proactively" contacted the committee "when he read press reports that it was interested in his testimony."

Numerous congressional committees have expressed an interest in speaking to Strzok, but Wednesday's hearing will be the ﬁrst before a congressional
panel. The hearing is behind closed doors despite the wishes for a public hearing from several conservatives on the House panels -- as well as Trump
himself.

"The hearing of Peter Strzok and the other hating frauds at the FBI & DOJ should be shown to the public on live television, not a closed door hearing
that nobody will see," Trump tweeted on Monday. "We should expose these people for what they are - there should be total transparency!"

Conservatives on the two committees have also been unhappy with the pace of the investigation into the FBI's actions, including that Strzok is only
being interviewed eight months into the probe and Page has yet to be scheduled.

Several Republicans said on their way into the interview repeated that they wanted him back for a public hearing. This included Goodlatte, who said he
will be in "soon" for a public hearing, suggesting it could occur before August.

Democrats also said they supported a public hearing.

"There seems to be a di erence of opinion in regards to what those text messages actually meant, and I personally think he should be heard in a public
forum, this should not be a closed process — he should have a chance to tell the public what he meant in those messages," Krishnamoorthi said.

This story has been updated with additional developments.

CNN's Maeve O'Brien and Dan Scully contributed to this report.
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                     Exhibit K
                     Case 1:18-mc-00174-TNM Document 1-13 Filed 11/29/18 Page 2 of 4




                             House GOP questions FBI lawyer for
                             second day
                             BY OLIVIA BEAVERS - 07/16/18 07:44 PM EDT




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Mother of toddler who
died after ICE
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$60 million
LATINO — 3M 35S AGO



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— 12M 24S AGO



Pence, Kushner huddle
with Senate GOP on
criminal justice reform
FLOOR ACTION — 14M 45S AGO     © Anna Moneymaker



Obama meets George             House Republicans grilled former FBI lawyer Lisa Page behind closed
H.W. Bush during visit to      doors on Monday as they sought to make the case that bias in luenced the
Houston                        bureau’s investigations of President Trump and Hillary Clinton.
BLOG BRIEFING ROOM
— 14M 48S AGO
                               It was the second day of a grueling interview for Page, whose emails and
                               text messages with FBI agent Peter Strzok have been cited by GOP
Bipartisan budget              lawmakers as suggesting the FBI was biased against the Republican
reform eﬀort hits              presidential candidate.
roadblock in inal days
FINANCE — 33M 21S AGO
                               Lawmakers from the House Judiciary and House Oversight and
                               Government Reform committees remained mostly tight-lipped on the
Facebook gets global           details of her testimony, though multiple Republicans praised her as
grilling over privacy          cooperative and forthcoming.
TECHNOLOGY — 34M 18S AGO

                               “Lisa Page today and again on Friday demonstrated a transparency that
Number of                      we didn’t see from Peter Strzok,” said Rep. Mark Meadows (R-N.C.),
unauthorized                   chairman of the House Freedom Caucus and one of the FBI’s and Justice
immigrants in US fell in       Department’s iercest critics.
2016 to lowest level in a
decade: Pew                    Strzok’s public hearing on Thursday led to ireworks and personal attacks,
BLOG BRIEFING ROOM
                               with the FBI agent oﬀering a loud defense of the FBI and Republicans
— 38M 55S AGO
                               attacking his credibility. Rep. Louie Gohmert (R-Texas) at one point asked
                               Strzok how many times he had looked into his wife’s eyes and lied about
Trudeau speaks with            his relationship with Page, with whom he’d had an aﬀair.
Trump about GM layoﬀs
FINANCE — 39M 33S AGO
                               One Democrat on the panel responded by saying Gohmert needed to take
                               his medication.
VIEW ALL

                               Meadows said there are no plans to ask Page to testify publicly but added
                               that some of Page’s answers were interesting because they oﬀered new
                               information or contradicted other statements from witnesses.

                               Rep. John Ratcliﬀe (R-Texas), a House Judiciary member, also pointed to
                               diﬀerences in Page’s testimony.
                      Case 1:18-mc-00174-TNM Document 1-13 Filed 11/29/18 Page 3 of 4
Related News            by     “In many cases, she admits that the text messages mean exactly what
                               they say, as opposed to agent Strzok, who thinks we have all
                               misinterpreted his own words on any text message that might be
                               negative,” Ratcliﬀe said.

                               Democratic Rep. Raja Krishnamoorthi (Ill.), however, said he had not heard
                               any contradictions.
Donald Trump's Body
Language Reveals 15…           Strzok’s testimony continued to reverberate, both on Capitol Hill and in
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                               Finland, where Trump criticized the FBI agent during his press conference
                               with Russian President Vladimir Putin in Helsinki.

                               Trump, speaking with Putin beside him in front of a global audience,
                               criticized Strzok and the investigation into Russia’s involvement in the
                               election in stark terms.
Lewandowski on
reported physical…             “And if anybody watched Peter Strzok testify over the last couple of days,
                               and I was in Brussels watching it, it was a disgrace to the FBI,” he said. “It
                               was a disgrace to our country. And you would say, ‘That was a total witch
                               hunt.’ ”

                               Trump’s remarks were widely criticized by Democrats and Republicans on
                               Capitol Hill, though some in the GOP defended Trump for doubting
South Carolina lawmaker
plans to add black…            Russia’s actions because of a corrosion in trust caused by Page and
                               Strzok.

                               “We saw the downgrading of Hillary Clinton’s criminal activity, the words
                               being changed on Peter Strzok’s own computer. So for the president to
                               cast doubt is not unreasonable,” Rep. Darrell Issa (R-Calif.) told reporters.

Judge rejects Trump            Strzok served on special counsel Robert Mueller’s Russia probe before he
Foundation request to…         was removed after an internal Justice Department watchdog uncovered
 
                               his anti-Trump text messages.




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                               A report from the department’s inspector general examining FBI conduct
                               during the election found a text message where Strzok told Page “We’ll
                               stop it” after being asked, “[Trump’s] not ever going to become president,
                               right? Right?!”

                               The inspector general said Strzok displayed a “biased state of mind”
                               during a key phase of the probe into Clinton’s use of a private email server
                               while secretary of State, but that no decision made during the course of
                               the investigation was aﬀected by bias or improper in luence.

                               Strzok repeatedly argued that personal political opinions did not inform
                               his professional decisionmaking during the 2016 race.

                               “At no time, in any of these texts, did those personal beliefs ever enter into
                               the realm of any action I took,” Strzok said.

                               The “We’ll stop it” text, he said, was “written late at night, oﬀ the cuﬀ and
                               it was in response to a series of events that included then-candidate
                               Trump insulting the immigrant family of a fallen war hero.”

                               TAGS RAJA KRISHNAMOORTHI HILLARY CLINTON JOHN RATCLIFFE ROBERT MUELLER
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                     Exhibit L
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Louie Gohmert: Lisa Page giving us 'more
insights' into Russia investigation
by Pete Kasperowicz | July 17, 2018 07:38 AM


Rep. Louie Gohmert, R-Texas, said Tuesday that former FBI lawyer Lisa Page has been more
helpful than FBI agent Peter Strzok when it comes to answering their questions about how
the FBI handled the Russia and Hillary Clinton investigations.

"She has given us more insights to who was involved in what," Gohmert told Fox News.

"She's a more contrite person," he added. "But make no mistake ... she's a Democrat. She
wanted Hillary to win and she did not want Trump to win, and that's been obvious."

Gohmert said Page has not contradicted Strzok, with whom she had an affair that was
discovered by the Justice Department's inspector general. The two texted each other anti-
Trump messages, which led to GOP claims that the FBI was biased against President Trump
and for Clinton.

But Gohmert said Page has generally been more cooperative, which he indicated has opened
more doors in the House Republican probe.

Gohmert said, for example, that there are other FBI supervisors involved in the GOP
investigation besides Strzok, although he didn't name them. He also indicated that former CIA
Director John Brennan and former Director of National Intelligence James Clapper could be
involved.

"When I hear Brennan or Clapper either saying the kind of things they've been saying recently,
then it tells me, wow, we must be getting close to them," Gohmert said. "Those guilty dogs are
barking pretty loud."

Gohmert said Page's closed-door testimony in the House on Friday and Monday was at times
so frank that FBI lawyers tried to keep her from answering.

"There were times the FBI lawyers would be reaching for the button to mute her comment
and she would answer before the thing could mute her comment," he said.

"I think she'll be a good witness," he added. "I don't know that we're going to have a public
hearing with her. But the important thing is to continue to gather the evidence."
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                    Exhibit M
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                                                                                                                                      controversy

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                                                                                                                                      excluded from
                                                                                                                                      "Mockingbird"

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                                                                                                                                      runoff


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Transcript: Rep. Trey Gowdy
on "Face the Nation," Nov. 25, Popular
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                                                                                                                     Ford speaks out in rare

2018
                                                                                                                     statement since Kavanaugh
                                                                                                                     hearings
                                                                                                                     612852 views


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                                                                                                         02          Lake Michigan waves could
                                                                                                                     reach 18 feet as blizzard
                                                                                                                     batters Midwest
The following is a transcript of the interview with Republican Rep. Trey Gowdy of                                    119994 views
South Carolina that aired Sunday, Nov. 25, 2018, on "Face the Nation."


MARGARET BRENNAN: Good morning and welcome to FACE THE NATION. We
                                                                                                         03          Utah teacher kills her ex-
                                                                                                                     husband's girlfriend in front of
                                                                                                                     her kids
begin today with Republican Congressman Trey Gowdy who leads the main                                                61592 views
investigative- investigative committee of the House of Representatives. He joins us
this morning from Greenville South Carolina. Welcome back to FACE THE
NATION. You've been busy over the holiday.                                                               04          Migrant mother falls off border
                                                                                                                     fence, impaled in front of her
                                                                                                                     children
REPRESENTATIVE TREY GOWDY: Good morning.                                                                             36776 views


MARGARET BRENNAN: We know that Congressman. A subpoena was sent to
fired FBI Director James Comey calling for him to testify before your committee.                         05          "Spongebob" creator Stephen
                                                                                                                     Hillenburg dead at 57
                                                                                                                     33838 views
He's objecting to the format saying this has to be in public. It can't be in private
because information will be selectively leaked. I know on this program in the past
you have said that Congressional investigations, "leak like the gossip girls." Do you
think that comes right to object?

REP. GOWDY: You know, Margaret, I don't get a chance to say this very often, but
I do think Jim Comey is right. Leaks are counterproductive whether Jim Comey is
doing it, whether the FBI is doing it, or whether Congress is doing it. The remedy
for leaks is not to have a public hearing where you are supposed to ask about 17
months worth of work in five minutes. I think the remedy is to videotape the
deposition. Videotape the transcribed interview. That way the public can see
whether the question was fair. They could judge the entirety of the answer. But
                Case 1:18-mc-00174-TNM Document 1-15 Filed 11/29/18 Page 3 of 4
there is no fact finder on- on the planet that tries to discover the truth in five      Ad
minute increments. And I can't think of one that does it on national television. So
we have to do it the same way we've handled every other witness which is a
transcribed interview a deposition. I am sensitive to leaks. I hate leaks. I think
they undercut the- the authenticity of the investigation but the remedy is not to
have a professional wrestling- type carnival atmosphere which is what
Congressional public hearings have become.
                                                                                        Lonny Celebrity Homes
MARGARET BRENNAN: Well how would a tape deposition change that? I mean
his concern is that he's implying that this is just be political grandstanding.         JLo & A-Rod Moved In Together: See
                                                                                        Their $15 Million NYC Penthouse
REP. GOWDY: Well, people act differently when there aren't cameras in the room.
                                                                                        Jennifer Lopez and Alex Rodriguez moved into the
Trust me when I say that. There are very constructive interviews when there is no       world's tallest residential building.
camera. What I would propose - and Bob Goodlatte is the chairman he- he can
decide - what I would propose is videotape that interview from pillar to post. Scrub
it for classified information in case somebody inadvertently asks or answers and
then release it to the public. Release the entire interview but do not make
members of Congress question someone that Democrats think cost Hillary Clinton
the election. And Republicans have a lot of questions for. Do not ask us to limit 17
months worth of decision making to five minutes of questions no other serious fact
finder tries to do it in five minutes. So I don't know why Congress thinks it can.

MARGARET BRENNAN: Is that a formal offer to Mr. Comey?
                                                                                         Watch CBS News anytime, anywhere
REP. GOWDY: Oh if I were the chairman of Judiciary it would be a formal offer. I-
                                                                                        with the our 24/7 digital news network.
I think Bob Goodlatte- Bob Goodlatte hates leaks every bit as much as I do which         Stream CBSN live or on demand for
is why he doesn't do it.                                                                FREE on your TV, computer, tablet, or
                                                                                                      smartphone.
MARGARET BRENNAN: Okay.
                                                                                                          Watch Now
REP. GOWDY: But he also is not going to let Jim Comey who by the way the FBI
has never conducted an interview in public. Never. And he wasn't interviewed by
Mueller in public. So the notion that Jim Comey all of a sudden loves public
interviews he hadn't done it his entire career. So Bob Goodlatte will decide and it
won't be Jim Comey.

MARGARET BRENNAN: You've also put in a request this week to the White
House for more information about why Ivanka Trump, a presidential adviser and
obviously the president's daughter, was using private email for government-
government business. People remember you well from the probe you lead into
Benghazi that helped to uncover Hillary Clinton's use of private email. At the time
you said that there should be prosecution of her for divulging classified
information or in any way mishandling it. Would you similarly call for that kind of
prosecution of the president's daughter?

REP. GOWDY: Well I will defer to whatever tape may exist but I have assiduously
tried to avoid ever calling for the prosecution of anyone including Hillary Clinton.
And I'm pretty sure that's true because I've had a lot of Republicans upset with me.
They're two separate issues, the divulging of classified information is a crime using
personal email upon which to conduct public business is not a crime. You're not
supposed to do it. It's not best practices. It actually violates statutes and
regulations. Pub- Public work is-is a privilege and-and part of that is you give up
the right to use your private email to conduct government work. So you should
keep record. Ms. Clinton should do it, Eric Holder. Everyone throughout
                                                                                          212 PHOTOS
government who conducts official business should use official email. If you don't
then you should take other steps to safeguard it. And- and that's what we need to         FTN: Behind the scenes
know from Mr. Trump but I've never called for Hillary Clinton to be prosecuted
and I couldn't possibly have done it for using private email because it's not a
crime.
                                                                                        Face on Twitter
MARGARET BRENNAN: Mishandling classified information. I think some have                 Tweets from @FaceTheNation/team
interpreted your past statements about that to have called for further actions but
in this case the president has already said for Ivanka Trump that he thinks there is
                     Case 1:18-mc-00174-TNM Document 1-15 Filed 11/29/18 Page 4 of 4
nothing to see here. Are you concerned that he is saying that at this point before
there is an investigation by your committee?                                                  WHAT DO TESLA, KPMG,
                                                                                              AND ALIBABA HAVE IN
REP. GOWDY: I am concerned anytime any president prejudges the outcome of                     COMMON?
an investigation. Whether it's President Obama, whether it's President Trump. I've            They rely on OANDA's Exchange Rates.
already talked to Ms. Trump's attorney. I've already talked to Mr. Cummings.
We've already written a letter to the White House. Congress has a responsibility to           Live | Spot | Daily | Historical
make sure that the records and the Presidential Records Act is complied with and
that is true no matter-no matter who the person is, whether it's Secretary Clinton
                                                                                                                            START A FREE TRIAL
or whether it's Tom Perez or whether it's Ivanka Trump. So we've taken steps,
we've done more in the last week than in some of my house Democratic colleagues
did the entire time we were looking into Benghazi. So I'm at peace with what we've
done but we need the information and we need it quickly. And then the public can             CBS News on Amazon Fire
judge whether or not those two fact patterns are similar.
                                                                                             TV
MARGARET BRENNAN: I want to also ask you before you go. You're an attorney,
you're a former federal prosecutor. Do you agree with the very unusual public
statement that we heard this week from Chief Justice John Roberts who rebuked
the president in many ways saying, "we do not have Obama judges or Trump
judges Bush judges or Clinton judges." Do you share his concern that the judiciary
is being politicized?

MARGARET BRENNAN: Margaret, I wish Chief Justice Roberts were right. I wish
there were not a politicization of the judici-judiciary. But it's not just politicians.
Every print article that you will go find this afternoon refers to judges based on the
president that put him or her in office. And you see terms like conservative and
ultra conservative and liberal and moderate which are political terms but they're
used to describe judges. So I wish Chief Justice Roberts were right. I wish that we
did not refer to judges based on which president put them in office as if that is
somehow going to inextricably lead us to the conclusion. But it's been happening
since I was a kid. It's been happening for 50 years that we have used political
terms to describe judges. I wish we would stop. But President Trump is not the
first person to do it. I think President Obama criticized the Supreme Court to their
face in the State of the Union. So I wish everyone would stop including the media
referring to judges based on which President put them in office.

MARGARET BRENNAN: All right. Congressman Gowdy, good to talk to you.
Thanks for joining us today.

REP. GOWDY: Yes ma'am. Thank you.
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Commentary: Caravan confirms what Trump has been saying for weeks
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                     Exhibit N
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Trump Wanted to Order Justice Dept. to
Prosecute Comey and Clinton
By Michael S. Schmidt and Maggie Haberman

Nov. 20, 2018

WASHINGTON — President Trump told the White House counsel in the spring that he wanted to
order the Justice Department to prosecute two of his political adversaries: his 2016 challenger,
Hillary Clinton, and the former F.B.I. director James B. Comey, according to two people familiar
with the conversation.

The lawyer, Donald F. McGahn II, rebuffed the president, saying that he had no authority to order
a prosecution. Mr. McGahn said that while he could request an investigation, that too could
prompt accusations of abuse of power. To underscore his point, Mr. McGahn had White House
lawyers write a memo for Mr. Trump warning that if he asked law enforcement to investigate his
rivals, he could face a range of consequences, including possible impeachment.

The encounter was one of the most blatant examples yet of how Mr. Trump views the typically
independent Justice Department as a tool to be wielded against his political enemies. It took on
additional signiﬁcance in recent weeks when Mr. McGahn left the White House and Mr. Trump
appointed a relatively inexperienced political loyalist, Matthew G. Whitaker, as the acting
attorney general.

It is unclear whether Mr. Trump read Mr. McGahn’s memo or whether he pursued the
prosecutions further. But the president has continued to privately discuss the matter, including
the possible appointment of a second special counsel to investigate both Mrs. Clinton and Mr.
Comey, according to two people who have spoken to Mr. Trump about the issue. He has also
repeatedly expressed disappointment in the F.B.I. director, Christopher A. Wray, for failing to
more aggressively investigate Mrs. Clinton, calling him weak, one of the people said.

A White House spokesman declined to comment. A spokeswoman for the F.B.I. declined to
comment on the president’s criticism of Mr. Wray, whom he appointed last year after ﬁring Mr.
Comey.

“Mr. McGahn will not comment on his legal advice to the president,” said Mr. McGahn’s lawyer,
William A. Burck. “Like any client, the president is entitled to conﬁdentiality. Mr. McGahn would
point out, though, that the president never, to his knowledge, ordered that anyone prosecute
Hillary Clinton or James Comey.”
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It is not clear which accusations Mr. Trump wanted prosecutors to pursue. He has accused Mr.
Comey, without evidence, of illegally having classiﬁed information shared with The New York
Times in a memo that Mr. Comey wrote about his interactions with the president. The document
contained no classiﬁed information.

Mr. Trump’s lawyers also privately asked the Justice Department last year to investigate Mr.
Comey for mishandling sensitive government information and for his role in the Clinton email
investigation. Law enforcement ofﬁcials declined their requests. Mr. Comey is a witness against
the president in the investigation by the special counsel, Robert S. Mueller III.

Mr. Trump has grown frustrated with Mr. Wray for what the president sees as his failure to
investigate Mrs. Clinton’s role in the Obama administration’s decision to allow the Russian
nuclear agency to buy a uranium mining company. Conservatives have long pointed to donations
to the Clinton family foundation by people associated with the company, Uranium One, as proof of
corruption. But no evidence has emerged that those donations inﬂuenced the American approval
of the deal.




           Mr. Trump has expressed disappointment in the F.B.I. director, Christopher A. Wray, for
           failing to more aggressively investigate Mrs. Clinton. Al Drago for The New York Times



Mr. Trump repeatedly pressed Justice Department ofﬁcials about the status of Clinton-related
investigations, including Mr. Whitaker when he was the chief of staff to Attorney General Jeff
Sessions, according to a person with direct knowledge of the conversations. CNN and Vox earlier
reported those discussions.
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           COMMENT OF THE MOMENT


                  Too Bad                                                                         Times Pick
             T
                  60610 | Nov. 21
                  But he didnʼt. Settle down Libs he didnʼt do it. Sounds like he vented and they properly
                  ignored him.

                  This daily outrage only serves to inure the public to real problems..

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In his conversation with Mr. McGahn, the president asked what stopped him from ordering the
Justice Department to investigate Mr. Comey and Mrs. Clinton, the two people familiar with the
conversation said. He did have the authority to ask the Justice Department to investigate, Mr.
McGahn said, but warned that making such a request could create a series of problems.

Mr. McGahn promised to write a memo outlining the president’s authorities. In the days that
followed, lawyers in the White House Counsel’s Ofﬁce wrote a several-page document in which
they strongly cautioned Mr. Trump against asking the Justice Department to investigate anyone.

The lawyers laid out a series of consequences. For starters, Justice Department lawyers could
refuse to follow Mr. Trump’s orders even before an investigation began, setting off another
political ﬁrestorm.

If charges were brought, judges could dismiss them. And Congress, they added, could investigate
the president’s role in a prosecution and begin impeachment proceedings.

Ultimately, the lawyers warned, Mr. Trump could be voted out of ofﬁce if voters believed he had
abused his power.

Mr. Trump’s frustrations about Mr. Comey and Mrs. Clinton were a recurring refrain, a former
White House ofﬁcial said. “Why aren’t they going after” them?, the president would ask of Justice
Department ofﬁcials.

For decades, White House aides have routinely sought to shield presidents from decisions related
to criminal cases or even from talking about them publicly. Presidential meddling could
undermine the legitimacy of prosecutions by attaching political overtones to investigations in
which career law enforcement ofﬁcials followed the evidence and the law.

Perhaps more than any president since Richard M. Nixon, Mr. Trump has been accused of trying
to exploit his authority over law enforcement. Witnesses have told the special counsel’s
investigators about how Mr. Trump tried to end an investigation into an aide, install loyalists to
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oversee the inquiry into his campaign and ﬁre Mr. Mueller.

In addition, Mr. Trump has attacked the integrity of Justice Department ofﬁcials, claiming they
are on a “witch hunt” to bring him down.




            Mr. Trump has accused the former F.B.I. director James B. Comey, without evidence, of
            illegally having classiﬁed information shared with reporters.
            Justin Tang/The Canadian Press, via Associated Press



More signiﬁcant, Mr. Mueller is investigating whether the president tried to impede his
investigation into whether any Trump associates conspired with Russia’s campaign to sow
discord among the American electorate during the 2016 presidential race.

Mr. Trump stoked his enmity for Mrs. Clinton during the campaign, suggesting during a
presidential debate that he would prosecute her if he was elected president. “If I win, I am going
to instruct my attorney general to get a special prosecutor to look into your situation,” Mr. Trump
said.

“It’s just awfully good that someone with the temperament of Donald Trump is not in charge of
the law in our country,” Mrs. Clinton replied.

“Because you would be in jail,” Mr. Trump shot back.
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During the presidential race, Mr. Whitaker, a former United States attorney, also said he would
have indicted Mrs. Clinton, contradicting Mr. Comey’s highly unusual public announcement that
he would recommend the Justice Department not charge her over her handling of classiﬁed
information while secretary of state.

“When the facts and evidence show a criminal violation has been committed, the individuals
involved should not dictate whether the case is prosecuted,” Mr. Whitaker wrote in an op-ed in
USA Today in July 2016.

Two weeks after his surprise victory, Mr. Trump backed off. “I don’t want to hurt the Clintons, I
really don’t,” Mr. Trump said in an interview with The Times. “She went through a lot and
suffered greatly in many different ways, and I am not looking to hurt them at all. The campaign
was vicious.”

Nonetheless, he revisited the idea both publicly and privately after taking ofﬁce. Some of his more
vocal supporters stirred his anger, including the Fox News commentator Jeanine Pirro, who has
railed repeatedly on her weekly show that the president is being ill served by the Justice
Department.

Ms. Pirro told Mr. Trump in the Oval Ofﬁce last November that the Justice Department should
appoint a special counsel to investigate the Uranium One deal, two people briefed on the
discussion have said. During that meeting, the White House chief of staff, John F. Kelly, told Ms.
Pirro she was inﬂaming an already vexed president, the people said.

Shortly after, Mr. Sessions wrote to lawmakers, partly at the urging of the president’s allies in the
House, to inform them that federal prosecutors in Utah were examining whether to appoint a
special counsel to investigate Mrs. Clinton. A spokeswoman for the United States attorney for
Utah declined to comment on Tuesday on the status of the investigation.

Mr. Trump once called his distance from law enforcement one of the “saddest” parts of being
president.

“I look at what’s happening with the Justice Department,” he said in a radio interview a year ago.
“Well, why aren’t they going after Hillary Clinton and her emails and with her, the dossier?” He
added: “I am not supposed to be doing the kind of things that I would love to be doing. And I am
very frustrated.”


Michael S. Schmidt reported from Washington, and Maggie Haberman from New York.

A version of this article appears in print on Nov. 21, 2018, on Page A1 of the New York edition with the headline: Trump Sought To Have Foes Face
Charges




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